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 6
 7                             UNITED STATES DISTRICT COURT
 8                                 DISTRICT OF NEVADA
 9
10 UNITED STATES OF AMERICA,                )    Case No. 2:17-cr-00227-KJD-CWH
                                            )
11                Plaintiff,                )    ORDER
                                            )
12        v.                                )
                                            )
13 JORDAN CAMBRIDGE,                        )
                                            )
14                Defendant.                )
                                            )
15                                          )
16
17        Good cause appearing, the United States Probation Office is ordered to prepare
18 a revised presentence report to show that Jordan Cambridge is in Criminal History
19 Category II.
20
21
22 IT IS SO ORDERED:
23 Dated: this 9th day of November 2020
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27                                   KENT J. DAWSON
                                     UNITED STATES DISTRICT JUDGE
28
